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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE

                                                                           Chapter 11
    In re:
                                                                           Case No. 23-10852 (KBO)
                                   1
    iMedia Brands, Inc., et al.,
                                                                           (Jointly Administered)
                                                Debtors.
                                                                           Ref. Docket No. ___

                             ORDER SHORTENING NOTICE
                         RELATED TO DEBTORS’ MOTION FOR
                    ENTRY OF AN ORDER SHORTENING NOTICE
            RELATED TO DEBTORS’ MOTION FOR ENTRY OF INTERIM
      AND FINAL ORDERS (I) AUTHORIZING THE DEBTORS TO (A) OBTAIN
      POST-PETITION FINANCING, (B) GRANT LIENS AND SUPERPRIORITY
    ADMINISTRATIVE EXPENSE CLAIMS TO POST-PETITION LENDERS AND
(C) UTILIZE CASH COLLATERAL, (II) PROVIDING ADEQUATE PROTECTION TO
 PRE-PETITION SECURED PARTIES, (III) MODIFYING THE AUTOMATIC STAY,
 (IV) GRANTING RELATED RELIEF, PURSUANT TO 11 U.S.C. SECTIONS 105, 361,
   362, 363, 364, 503, 506, 507 AND 552, AND (V) SCHEDULING A FINAL HEARING
        PURSUANT TO BANKRUPTCY RULE 4001 AND LOCAL RULE 4001-2

             Upon the Debtors’ motion (the “Motion to Shorten”)2 for entry of an order shortening

notice of the Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors

to (A) Obtain Post-Petition Financing, (B) Grant Liens and Superpriority Administrative Expense

Claims to Post-Petition Lenders and (C) Utilize Cash Collateral, (II) Providing Adequate

Protection to Pre-Petition Secured Parties, (III) Modifying the Automatic Stay, (IV) Granting

Related Relief, Pursuant to 11 U.S.C. Sections 105, 361, 362, 363, 364, 503, 506, 507 and 552,

and (V) Scheduling a Final Hearing Pursuant to Bankruptcy Rule 4001 and Local Rule 4001-2



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      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number are: ValueVision Media Acquisitions, Inc. (8670); iMedia Brands, Inc. (3770); ValueVision Interactive,
      Inc. (8730); Portal Acquisition Company (3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc.
      (2155); JWH Acquisition Company (3109); PW Acquisition Company, LLC (0154); EP Properties, LLC (3951);
      FL Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC (2642). The
      Debtors’ service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.
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      Capitalized terms used but not defined herein are defined in the Motion to Shorten.



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(the “Motion”); and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference from the United States District Court for

the District of Delaware, dated February 29, 2012, and this Court having found that this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that venue of this

proceeding and the Motion to Shorten in this district is proper pursuant to 28 U.S.C. §§ 1408 and

1409; and this Court having found that the relief requested in the Motion to Shorten is in the best

interests of the Debtors’ estates, their creditors, and other parties in interest; and after due

deliberation and sufficient cause appearing therefor;

        IT IS HEREBY ORDERED THAT:

        1.         The Motion to Shorten is GRANTED as set forth herein.

        2.         The DIP Motion shall be considered at a hearing scheduled for July 5, 2023, at

2:00 p.m. (ET) (the “Hearing”).

        3.         Objections, if any, to the relief requested in the DIP Motions must be made at or

before the Hearing.




   Dated: July 5th, 2023                                KAREN B. OWENS
   Wilmington, Delaware                                 UNITED STATES BANKRUPTCY JUDGE


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